     Case 2:19-cv-02121-MWF-JC Document 135 Filed 03/08/22 Page 1 of 3 Page ID #:7065



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12

13                          UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15

16     MARCELLUS McMILLIAN,                     Case No.: 2:19-cv-02121-MWF-JCx
17                                              The Honorable Michael W. Fitzgerald
             Plaintiff,
18                                              PLAINTIFF MARCELLUS
       vs.                                      MCMILLIAN’S NOTICE REGARDING
19                                              MOTIONS IN LIMINE AND
       GOLDEN STATE FC LLC,                     OPPOSITIONS TO DEFENDANTS’
20     AMAZON FULFILLMENT                       MOTIONS IN LIMINE
       SERVICES, INC., AMAZON.COM
21     SERVICES, INC., AMAZON.COM,              Trial: June 28, 2022
       INC., and DEVON FRANKLIN,                Time: 8:30 a.m.
22                                              Ctrm.: 5A
23                                              FPC: June 6, 2022
             Defendants.                        Time: 11:00 a.m.
24                                              Ctrm.: 5A
25                                              Action Filed: January 11, 2019
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                               PLAINTIFF’S NOTICE RE: MOTIONS IN LIMINE
     Case 2:19-cv-02121-MWF-JC Document 135 Filed 03/08/22 Page 2 of 3 Page ID #:7066



1           PLEASE TAKE NOTICE that Plaintiff Marcellus McMillian (“Plaintiff”), hereby
2      files the following amended motion in limine and oppositions to Defendants’ motions in
3      limine:
4                • Plaintiff’s Amended Motion In Limine No. 1 to Exclude Claims Regarding
5                  McMillian’s Car Accident
6                • Plaintiff’s Amended Opposition to Defendants’ Motion In Limine No. 1
7                • Plaintiff’s Amended Opposition to Defendants’ Motion In Limine No. 2
8                • Plaintiff’s Amended Opposition to Defendants’ Motion In Limine No. 4
9

10          PLEASE TAKE FURTHER NOTICE that Plaintiff also hereby withdraws his
11     motion in limine No. 2 to exclude undisclosed witnesses and documents.
12

13     Dated: March 8, 2022            SHEGERIAN & ASSOCIATES, INC.
14

15                                     By:
                                             Mahru Madjidi, Esq.
16
                                             Attorneys for Plaintiff,
17                                           MARCELLUS McMILLIAN
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                               PLAINTIFF’S NOTICE RE: MOTIONS IN LIMINE
     Case 2:19-cv-02121-MWF-JC Document 135 Filed 03/08/22 Page 3 of 3 Page ID #:7067



1      McMILLIAN v. GOLDEN STATE FC, et al. USDC Case No. 2:19-cv-02121-MWF-JCx
2                                     PROOF OF SERVICE
3                  STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
4           I am an employee in the County of Los Angeles, State of California. I am over the
       age of 18 and not a party to the within action; my business address is 145 South Spring
5      Street, Suite 400, Los Angeles, California 90012.
6           On March 8, 2022, I served the foregoing document, described as “PLAINTIFF
       MARCELLUS MCMILLIAN’S NOTICE REGARDING MOTIONS IN LIMINE
7      AND OPPOSITIONS TO DEFENDANTS’ MOTIONS IN LIMINE” on all
       interested parties in this action by placing true copies thereof in sealed envelopes,
8      addressed as follows:
9      Barbara A. Fitzgerald, Esq.                  Ethel J. Johnson, Esq.
       Barbara.Fitzgerald@morganlewis.com           ethel.johnson@morganlewis.com
10     MORGAN, LEWIS & BOCKIUS LLP                  MORGAN, LEWIS & BOCKIUS LLP
       300 South Grand Avenue, 22nd Floor           One Market, Spear Street Tower
11     Los Angeles, California 90071                San Francisco, California 94105
12     Alexander L. Grodan, Esq.
       Alexander.Grodan@morganlewis.com
13     MORGAN, LEWIS & BOCKIUS LLP
       600 Anton Boulevard, Suite 1800
14     Costa Mesa, California 92626
15           BY CM/ECF NOTICE OF ELECTRONIC FILING I electronically filed the
             document(s) with the Clerk of the Court by using the CM/ECF system.
16           Participants in the case who are registered CM/ECF users will be served by the
             CM/ECF system. Participants in the case who are not registered CM/ECF users
17           will be served by mail or by other means permitted by the court rules.
18           (FEDERAL) I declare that I am employed in the office of a member of the bar of
             this Court at whose direction the service was made. I declare, under penalty of
19           perjury under the laws of the United States of America, that the above is true and
             correct.
20
            Executed on March 8, 2022, at Los Angeles, California.
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23                                                 Jose Castro
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